Case 4:17-cv-01954-KOB Document 1 Filed 11/20/17 Page 1 of 10            FILED
                                                                2017 Nov-21 PM 02:37
                                                                U.S. DISTRICT COURT
                                                                    N.D. OF ALABAMA
Case 4:17-cv-01954-KOB Document 1 Filed 11/20/17 Page 2 of 10
Case 4:17-cv-01954-KOB Document 1 Filed 11/20/17 Page 3 of 10
Case 4:17-cv-01954-KOB Document 1 Filed 11/20/17 Page 4 of 10
Case 4:17-cv-01954-KOB Document 1 Filed 11/20/17 Page 5 of 10
Case 4:17-cv-01954-KOB Document 1 Filed 11/20/17 Page 6 of 10
Case 4:17-cv-01954-KOB Document 1 Filed 11/20/17 Page 7 of 10
Case 4:17-cv-01954-KOB Document 1 Filed 11/20/17 Page 8 of 10
Case 4:17-cv-01954-KOB Document 1 Filed 11/20/17 Page 9 of 10
Case 4:17-cv-01954-KOB Document 1 Filed 11/20/17 Page 10 of 10
